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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

LAUTHA V. ANDERSON, SR.                     )
                                            )
              Plaintiff,                    )
                                            )
       v.                                   )       Case No. 4:17-CV-02659-AGF
                                            )
CHANTAY GODERT, et al.,                     )
                                            )
              Defendants.                   )

                           DEFENDANTS’ MOTION IN LIMINE

       Defendants, through counsel, move this Court for an order in limine excluding the

following evidence, and prohibiting Plaintiff or any witnesses from mentioning or

introducing testimony or other evidence relating to the subjects listed and discussed below.

Defendants further move the Court to instruct Plaintiff not to mention, refer to, interrogate

concerning, or attempt to convey to the jury in any manner, either directly or indirectly,

any of the subjects listed below, without first obtaining permission from the Court outside

of the presence and hearing of the jury. Defendants further move the Court to instruct

Plaintiff to caution all his witnesses to strictly follow these same instructions.

       1. Plaintiff’s release from administrative segregation on November 27, 2016, and

circumstances leading up to that release.

       (a) Evidence related to this incident is not relevant to any issues in this case, which

involve Plaintiff’s failure to protect claim based on an alleged prisoner assault on him on

November 20, 2016, after his release from administrative segregation on November 18,

2016, and should therefore be excluded under Fed. R. Evid. 402.

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       (b) To whatever extent the Court may conclude such evidence is relevant, it would

be inadmissible under Fed. R. Evid. 403, because its probative value is substantially

outweighed by its unfair prejudicial effect and likelihood of confusing the issues and

misleading the jury.

       (c) Such evidence is also inadmissible under Fed. R. Evid. 404(b), as evidence of

other alleged wrongs to prove the character of a person in order to show action in

conformity therewith.

       2. Statements or written comments made by any non-defendant to the effect that

Plaintiff’s release from administrative segregation on November 18, 2016, or any other

date, was in error.

       (a) Such evidence is not relevant to any issue in this case because it will not reflect

Defendants’ knowledge regarding factors pertinent to the release of Plaintiff from

administrative segregation, and should therefore be excluded under Fed. R. Evid. 402.

       (b) To whatever extent the Court may conclude such evidence is relevant, it would

be inadmissible under Fed. R. Evid. 403, because its probative value is substantially

outweighed by its unfair prejudicial effect and likelihood of confusing the issues and

misleading the jury.

       (c) Such evidence relating to any date other than November 18, 2016, is also

inadmissible under Fed. R. Evid. 404(b), as evidence of other alleged wrongs to prove the

character of a person in order to show action in conformity therewith.

       (d) Further, such evidence would be inadmissible hearsay under Fed. R. Evid. 802.

       3. Testimony from Roxane Gaston.

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        (a) Ms. Gaston did not take part in the decision to release Plaintiff from

administrative segregation on November 18, 2016; was not present at work on that date;

and has no knowledge of Plaintiff’s release from administrative segregation on that date,

his subsequent injury, or his return to administrative segregation on November 21, 2016.

Therefore, Ms. Gaston’s testimony is not relevant to any issue in this case, and should be

excluded under Fed. R. Evid. 402.

        (b) To whatever extent the Court may conclude such evidence is relevant, it would

be inadmissible under Fed. R. Evid. 403, because its probative value is substantially

outweighed by its unfair prejudicial effect and likelihood of confusing the issues and

misleading the jury.

        4.   Statements or written comments made by any medical, or other health,

professional beyond entry into evidence of the two medical records Plaintiff provided as

exhibits to his complaints (ECF Doc. No. 1-2, pp. 3-4; ECF Doc. No. 6-1, pp. 3-4) in this

case.

        (a) Such evidence would be inadmissible hearsay under Fed. R. Evid. 802.

        (b) Plaintiff provided no medical, or other health, information to Defendants in

discovery despite a request for it. Plaintiff also refused to provide an authorization to

Defendants to obtain such information for themselves.

        5. Plaintiff’s medical, or other health, records beyond the two medical records

Plaintiff provided as exhibits to his complaints (ECF Doc. No. 1-2, pp. 3-4; ECF Doc. No.

6-1, pp. 3-4) in this case.

        (a) Such evidence would be inadmissible hearsay under Fed. R. Evid. 802.

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       (b) Plaintiff provided no medical, or other health, information to Defendants in

discovery despite a request for it. Plaintiff also refused to provide an authorization to

Defendants to obtain such information for themselves.

       6. Testimony from any medical, or other health, professional, including Heather

Swope.

       (a) Plaintiff provided no medical, or other health, information to Defendants in

discovery despite a request for it. Plaintiff also refused to provide an authorization to

Defendants to obtain such information for themselves.

       7. Statements from Plaintiff that his due process rights were violated.

       (a) Such evidence is not relevant to any issue in this case and should therefore be

excluded under Fed. R. Evid. 402.

       (b) To whatever extent the Court may conclude such evidence is relevant, it would

be inadmissible under Fed. R. Evid. 403, because its probative value is substantially

outweighed by its unfair prejudicial effect and likelihood of confusing the issues and

misleading the jury.

       (c) Such evidence is also inadmissible under Fed. R. Evid. 404(b), as evidence of

other alleged wrongs to prove the character of a person in order to show action in

conformity therewith.

       8. Other civil rights lawsuits filed against Defendants, or other employees of the

Missouri Department of Corrections, if any, or any settlements or findings of liability

therefor.



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      (a) Such evidence is not relevant to any issue in this case and should therefore be

excluded under Fed. R. Evid. 402.

      (b) To whatever extent the Court may conclude such evidence is relevant, it would

be inadmissible under Fed. R. Evid. 403, because its probative value is substantially

outweighed by its unfair prejudicial effect and likelihood of confusing the issues and

misleading the jury.

      (c) Such evidence is also inadmissible under Fed. R. Evid. 404(b), as evidence of

other alleged wrongs to prove the character of a person in order to show action in

conformity therewith.

      9. Complaints brought by other prisoners against the Defendants or other employees

of the Missouri Department of Corrections.

      (a) Such evidence is not relevant to any issue in this case and should therefore be

excluded under Fed. R. Evid. 402.

      (b) To whatever extent the Court may conclude such evidence is relevant, it would

be inadmissible under Fed. R. Evid. 403, because its probative value is substantially

outweighed by its unfair prejudicial effect and likelihood of confusing the issues and

misleading the jury.

      (c) Such evidence is also inadmissible under Fed. R. Evid. 404(b), as evidence of

other alleged wrongs to prove the character of a person in order to show action in

conformity therewith.




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       WHEREFORE, Defendants pray this Court to order that no evidence or testimony

related to any of the foregoing topics be admitted.

                                          Respectfully submitted,

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                                          Missouri Attorney General

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                                          ATTORNEYS FOR DEFENDANTS
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                             CERTIFICATE OF SERVICE
       I hereby certify that on this 2nd day of November, 2020, I electronically filed the

foregoing with the Clerk of the Court’s ECF system which sent notice to:

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